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 8
 9                           UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11                                      WESTERN DIVISION
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13     KEITH THOMAS LOKER,                   Case No. CV 18-2429-AB
14                       Petitioner,         DEATH PENALTY CASE
15           v.
                                             STATUS REPORT
16     OAK SMITH, Acting Warden,
       California State Prison at San
17     Quentin,
18                       Respondent.
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 1           Pursuant to the Court’s order of March 24, 2020, Petitioner Keith Thomas Loker
 2     submits this report on the status of the state exhaustion proceedings. In sum, there has
 3     been no change to the status since Loker submitted his last report.
 4           On April 9, 2020, Loker filed a Petition for Writ of Habeas Corpus in the
 5     California Supreme Court. On April 22, 2020, the California Supreme Court transferred
 6     the Petition to the San Bernardino County Superior Court, pursuant to Cal. Penal Code
 7     section 1509(a). On October 29, 2020, the Superior Court stayed Loker’s case pending
 8     the outcome in In re Jack Friend (California Supreme Court Case No. S256914). The
 9     California Supreme Court issued an opinion in Friend on June 28, 2021, 11 Cal. 5th
10     720 (2021), as modified (Sept. 1, 2021), which became final on September 24, 2021.
11     Subsequently, the parties submitted briefs arguing how the Friend decision applied to
12     the pending Petition. The briefing was completed on July 8, 2022. On October 11,
13     2022, the Superior Court held a hearing to receive oral argument from the parties on the
14     issues of whether Loker’s claims are successive and the effect of other changes to the
15     law after promulgation of Proposition 66 on Loker’s petition.
16           On December 16, 2022, the Superior Court issued an order dismissing Loker’s
17     exhaustion Petition as successive. The California Court of Appeal then ordered the
18     Superior Court to rule as well on whether a Certificate of Appealability (“COA”)
19     should be issued; on February 3, 2023, the Superior Court amended its order dismissing
20     the Petition to deny Loker a COA on any claims.
21           Loker then filed a Notice of Appeal on both the dismissal of the claims as
22     successive and the denial of a COA. On March 15, 2023, the California Court of
23     Appeal granted a COA as to one claim in Loker’s petition, finding that “Loker has
24     made a preliminary showing of a substantial claim that his trial counsel was ineffective
25     for failing to present the expert testimony of a social historian and that this claim meets
26     the requirements of section 1509, subdivision (d) because counsel representing him in
27     his first habeas corpus petition was ineffective for failing to pursue the claim.” Thus
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 1     Loker’s Petition is currently on appeal at the California Court of Appeal, Fourth
 2     District, Division Two.
 3           Pursuant to the Court’s order, Petitioner will continue to update the Court every
 4     90 days on the status of the state court proceedings.
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                                              Respectfully submitted,
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                                              CUAUHTEMOC ORTEGA
 7                                            Federal Public Defender
                                              DEVON PORTER
 8                                            Deputy Federal Public Defender
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10     DATED: September 18, 2023           By /s/ Marta VanLandingham
11                                           MARTA VANLANDINGHAM
                                             Deputy Federal Public Defender
12
                                              Attorneys for Petitioner
13                                            KEITH THOMAS LOKER
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